Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 1 of 28 Page ID
                                  #:52043




                   EXHIBIT 22
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 2 of 28 Page ID
                                  #:52044
                                                                                   1

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                            (SOUTHERN DIVISION - SANTA ANA)




         MASIMO CORPORATION, ET AL,          ) CASE NO: 8:20-CV-00048-JVS-JDEx
                                             )
                           Plaintiffs,       )             CIVIL
                                             )
               vs.                           )      Santa Ana, California
                                             )
         APPLE, INC,                         )      Thursday, May 20, 2021
                                             )
                           Defendant.        )


                                 PARTIAL TRANSCRIPT RE:

                          MOTION TO COMPEL [DKT.NOS.351,357]


                          BEFORE THE HONORABLE JOHN D. EARLY,
                             UNITED STATES MAGISTRATE JUDGE

                                (SEALED PORTIONS OMITTED)



         APPEARANCES:                   SEE PAGE 2



         Court Reporter:                Recorded; REMOTE; Wave

         Courtroom Deputy:              Maria Barr

         Transcribed by:                Exceptional Reporting Services, Inc.
                                        P.O. Box 8365
                                        Corpus Christi, TX 78468
                                        361 949-2988




         Proceedings recorded by electronic sound recording;
         transcript produced by transcription service.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 1
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 3 of 28 Page ID
                                  #:52045
                                                                                   2

         APPEARANCES:


         For Plaintiffs:               BENJAMIN A. KATZENELLENBOGEN, ESQ.
                                       Knobbe Martens Olson & Bear, LLP
                                       2040 Main Street
                                       14th Floor
                                       Irvine, CA 92614

                                       ADAM POWELL, ESQ.
                                       Knobbe Martens Olson & Bear, LLP
                                       12790 El Camino Real
                                       San Diego, CA 92130


         For Defendant:                JOSHUA H. LERNER, ESQ.
                                       Gibson Dunn & Crutcher, LLP
                                       555 Mission Street
                                       Suite 3000
                                       San Francisco, CA 94105

                                       ILISSA S. SAMPLIN, ESQ.
                                       Gibson Dunn & Crutcher, LLP
                                       2029 Century Park East
                                       Suite 4000
                                       Los Angeles, CA 90067




                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 2
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 4 of 28 Page ID
                                  #:52046
                                                                                   3


     1               Santa Ana, California; Thursday, May 20, 2021

     2                              (Remote Appearances)

     3                                 Call to Order

     4                THE CLERK:    Please come to order.     This United States

     5   District Court is now in session, the Honorable John D. Early,

     6   United States Magistrate Judge presiding.

     7                THE COURT:    Good morning, everyone, please be seated.

     8           (All respond good morning)

     9                THE COURT:    All right, calling the case of Masimo

    10   Corporation, et al versus Apple Inc., Central District of

    11   California Case Number 8:20-00048-JVS.

    12                We are here on two Motions.      We'll take appearances

    13   with Counsel and then we'll describe the Motion.           We'll start

    14   with Counsel for Plaintiff.

    15                MR. POWELL:    Thank you, Your Honor, Adam Powell for

    16   the Plaintiff Masimo Corporation and Cercacor.

    17                With me is my partner Ben Katzenellenbogen.

    18                THE COURT:    All right, thank you, good morning.

    19                And for Defendants -- for Defendant?

    20                MR. LERNER:    Good morning, Your Honor, Joshua Lerner

    21   of Gibson Dunn on behalf of Apple, and with me is my partner,

    22   Ilissa Samplin.

    23                THE COURT:    All right, good morning and welcome, as

    24   well.

    25                We are proceeding and everyone is wearing a mask.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 3
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 5 of 28 Page ID
                                  #:52047
                                                                                  21


     1               MR. POWELL:    Thank you, Your Honor.      I'll be very

     2   brief here unless you have any specific questions.

     3               But I think the Court is correct that the

     4   interpretation and the scope of 2019 is at issue, and

     5   Mr. Lerner is interpreting 2019 too narrowly, and that I think

     6   you're correct in your analogy of a tether that not just these

     7   specific words are relevant.       And the reason is we have both

     8   the PMC case and the -- I'm sorry.

     9               Both the PMC case and the SkinMedica case made clear

    10   that you can use a trade secret in a lot of different ways, and

    11   I think Your Honor was correct when you said that a trade

    12   secret can be incorporated in an initial product and then it

    13   can be tweaked, it can be modified, it can be changed, and

    14   those products still misappropriate a trade secret.

    15               So that's why I think, again, we don't know how many

    16   heart rate algorithms are even at issue.         We don't know how

    17   many they have because we haven't been told how many they have

    18   for the same reason as the Court, we don't have that evidence.

    19   It could be two, it could be 20, I have no idea.

    20               THE COURT:    Right.

    21               MR. POWELL:    And that's why we think that it's just

    22   not that burdensome to --

    23               THE COURT:    So I'm going to cut you off because -- to

    24   keep things moving, a part of the reason I'm going to cut you

    25   off is I think Mr. Lerner might more appreciate some thoughts I
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 4
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 6 of 28 Page ID
                                  #:52048
                                                                                  22


     1   have on the very next one, Request Number 64, and this is why

     2   we're tying these to the specific Request, it's great to have

     3   global discussions.

     4               Request Number 64:

     5               "All documents and things that refer or relate to

     6               selection between any heart rate algorithm used in

     7               any of the Apple Watch products."

     8               I read that as a much, much, much, much, much, much,

     9   much, much broader Request than Number 63 'cause here we get

    10   into "refer or relate to documents and things."

    11               Now we get into it's slightly narrowed as it relates

    12   to "selection," but now we get to the exact thing I said that I

    13   don't interpret 63 to call for, and you have confirmed, we're

    14   now opening the proverbial Pandora's Box where I think on this

    15   one I can say, without a showing of burdensome from Apple, of

    16   burdensomeness without evidence, that I can read this just like

    17   that Coca Cola example, wow, that's pretty broad.

    18               Am I wrong?

    19               MR. POWELL:    Your Honor, I would respectfully

    20   disagree, and I'll tell you why.

    21               Number 1, we're not asking for every single document

    22   in the company, we're asking for a reasonable search pursuant

    23   to Rule 26, so what --

    24               THE COURT:    Well -- so you've got your custodians,

    25   there was a big fight over custodians, you got how many, 39
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 5
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 7 of 28 Page ID
                                  #:52049
                                                                                  23


     1   custodians?     Okay.

     2               So you're right that there are limitations, but

     3   "refer or relate to," the only thing that might save you here

     4   is the modifier "selection between."         That does narrow it,

     5   okay?

     6               But whatever you got through that narrowing I'm

     7   imagining piping, I did some plumbing, you've got a narrowing

     8   and then all of a sudden you've got an explosion.           So the

     9   narrowing helps, right?       The flow of water is going to be

    10   slowed, but that "refer or relate to" I wish you had written

    11   this one the way -- I shouldn't say "I wish," you know, I get

    12   things as they come; had you written this that said "all

    13   documents sufficient to show how heart rate algorithms were

    14   selected in any Apple Watch product" I would view it much more

    15   like 63, but this is not worded that way, so I'm inclined to

    16   say that this one is too broad.        I can see it on the face of

    17   the Request even without evidence, Apple, and as I mentioned to

    18   you I'm not going to be in the business with 92 Requests to

    19   start narrowing on the fly, it's either going to be granted or

    20   denied.

    21               My inclination is to grant the Motion as indicated,

    22   as interpreted as to 63 and deny it as to 64.

    23               So let me hear from you.

    24               MR. LERNER:    Thank you, Your Honor.      I'll be very

    25   brief.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 6
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 8 of 28 Page ID
                                  #:52050
                                                                                  24


     1               I think the selection between heart rate algorithms

     2   does sufficiently narrow this Request and I'll tell you why.

     3               One of the trade secrets at issue here, I'll try to

     4   be broad, but perhaps we'll need to seal this portion of the

     5   transcript if I get too detailed, would that be okay?

     6               THE COURT:    So this is ultimately your information,

     7   you don't need to ask my permission, but you need to let me

     8   know when you think something is confidential, and then I'll

     9   ask Plaintiff whether they have any objection to sealing a

    10   portion of the transcript.       It's going to complicate any effort

    11   to obtain a copy of the transcript, but I defer to you, if you

    12   need to do it; otherwise you can point to particular pages on

    13   the sealed exhibit and I can review it silently, you are free

    14   to do any mechanism you wish.

    15               MR. LERNER:    Thank you, Your Honor.      So I will refer

    16   you to -- then I will refer to Exhibit 28 of my Declaration,

    17   and specifically Page --

    18               THE COURT:    (indisc.)

    19               MR. LERNER:    I'm sorry, Your Honor, do you need the

    20   Docket Number?

    21               THE COURT:    Help me, it would be helpful and, again,

    22   it gets back to something that gets very complicated when we

    23   have some sealed and some unsealed, and I can't tell by Exhibit

    24   Number whether it's in a sealed portion of a Declaration, which

    25   is filed differently so, yes, a Docket Number would be helpful.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 7
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 9 of 28 Page ID
                                  #:52051
                                                                                   25


     1                MR. LERNER:    Okay, it is Docket 353-2, and this is

     2   Page 13, Lines 4 through 7.

     3                THE COURT:    It's loading so give me a moment.

     4                MR. LERNER:    I apologize.

     5         (Pause)

     6                THE COURT:    All right, 4 through 7 you said.       I may

     7   be looking at the wrong document.        You said 353-2?

     8                MR. LERNER:    Correct, Your Honor.

     9                THE COURT:    Page 15?

    10                MR. LERNER:    Page 13.

    11                THE COURT:    13, all right.    So just to be clear are

    12   you talking about the document pagination or the CM pagination?

    13                MR. LERNER:    I am sorry, Your Honor, I was talking

    14   about the document pagination, so this is on the document --

    15   the Docket Number is Page 315.

    16                THE COURT:    All right.

    17         (Pause)

    18                THE COURT:    All right, I'm at Page 315, Docket

    19   pagination of Docket Number 353-2, and I'm looking at Lines 4

    20   through 7.

    21                MR. LERNER:    Okay, it begins with Paragraph 1.

    22                THE COURT:    You don't have to read it if it's -- I'm

    23   -- it's F1.

    24                MR. LERNER:    Thank you, Your Honor.     So if you look

    25   specifically at Lines 6 through 7, the last portion of that
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 8
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 10 of 28 Page ID
                                  #:52052
                                                                                  26


      1   recitation, that's what we're dealing with here is the idea of

      2   the selecting between heart rate algorithms in the Apple Watch

      3   product.

      4               And, again, this goes back to Counsel, in their

      5   papers, argued for this one that the word "the" or "a"

      6   singular, refers to a single algorithm and, again, this goes

      7   back to the PMC and SkinMedica case, by using the trade secret

      8   you can modify it and use only a portion of the trade secret,

      9   so it's not limited to just a single algorithm.

     10               And I think it's -- the difference between

     11   "sufficient to show" and "documents that refer or relate" in

     12   this particular circumstance is "documents sufficient to show a

     13   selection" would not show documents about the discussion of how

     14   important it is, who presented that idea to Apple.

     15               So, for example, if Lamego presented that idea that

     16   is a highly relevant document that would be important showing

     17   misappropriation; whereas, if somebody else presented the idea

     18   it may be exculpatory.      And so that's why I think "refer or

     19   relate" is more specific, or more important when we're talking

     20   about a specific request.      Whereas, Request 63, like you said,

     21   was trying to figure out the universe so we could try to refer

     22   to the specific algorithms at issue.

     23               64 is more directed towards specific trade secrets

     24   and trying to get documents to figure out where that idea came

     25   from.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                             Page 9
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 11 of 28 Page ID
                                  #:52053
                                                                                  27


      1                And with that I'll conclude if Your Honor doesn't

      2   have any other questions.

      3                THE COURT:    Well, why -- when is your discovery

      4   cutoff?     I know we've got half the case stayed, but you still

      5   have a discovery -- you still have an Operating Scheduling

      6   Order.    Is it July -- July 5th, is that what my memory is?

      7                MR. LERNER:    Correct, Your Honor.

      8                THE COURT:    You're nodding heads, but I want to --

      9   okay.    So we are now -- and I want to get you guys a ruling as

     10   quickly as possible, we're now May -- what are we?

     11                MR. POWELL:    20th.

     12                THE COURT:    20th.    So it would be tight, but you have

     13   time to propound a more narrowed Request.

     14                All of these rulings would be without leave to filing

     15   or serving Supplemental Requests, but I have heard the

     16   argument.    I'm still of the view that when we're dealing with a

     17   situation covering a massive amount of both -- I did this once

     18   before, of time -- I say "physical time," which, of course, is

     19   an oxymoron, but a massive amount of time, and 39 custodians,

     20   and I'm taking that into account.        I know that's not what Apple

     21   wanted, they wanted it, what, 12 or 13 and it's 39.

     22                So any baseball fans here?     Yeah.

     23                I grew up a Yankees fan, never liked the Red Sox,

     24   hated the Red Sox, this expression they used to have about the

     25   Green Monster in Boston was "The Green Monster giveth and the
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 10
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 12 of 28 Page ID
                                  #:52054
                                                                                  28


      1   Green Monster taketh away."       Sometimes it's (indisc.), a fly

      2   ball is a home run, sometimes a line drive that would be out in

      3   any other ballpark as a single.

      4               You've got most of what you wanted on your number of

      5   custodians, but that also educates me and is part of my

      6   analysis here for how difficult it would be to search for some

      7   of these things, and this one, it's that "refer or relate"

      8   language with 39 custodians, especially considering you're

      9   getting and are going to be ordered to get documents sufficient

     10   to show the heart rate algorithms.

     11               My hope is that can be done quickly and I'm going to

     12   have some pretty quick turnarounds on these, and if you want to

     13   serve a follow-up Request when you see some algorithms that

     14   look like something you're interested in and you want to get

     15   information about how that algorithm was selected you can do a

     16   targeted follow-up request rather than a scatter shot request

     17   like this that has that.      There is a narrowing, but then it

     18   expands so that's my thinking.

     19               I'll let Mr. Lerner, who has been sitting as I have

     20   been discussing, and you can talk about 63 or 64, but I hope

     21   this gives you some insight into where we're going to be going

     22   on a lot of these individual requests.

     23               MR. LERNER:    I think I understand Your Honor's points

     24   given the amount of time Your Honor has devoted to this

     25   already.    I don't have more on these two unless, for some
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 11
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 13 of 28 Page ID
                                  #:52055
                                                                                  29


      1   reason, you were inclined to revisit your inclination on 64,

      2   I'm fine keeping going.

      3               THE COURT:    All right.   So let's turn to 65, and

      4   these are kind of a group because they are similar.

      5               "All documents and things that refer or relate to

      6               power consumption by any heart rate algorithm used in

      7               any of the Apple Watch products."

      8               We've got the same issue here.       There's a narrowing,

      9   okay, power consumption and, again, if it were "sufficient to

     10   show power consumption," "sufficient to show how the selection

     11   of power consumption for the heart rate algorithm," much more

     12   narrow, I think.     But with 39 custodians covering how many

     13   years?

     14               When did Mr. Lamego -- was it 2013 or 2014 that he

     15   arrived at Apple?

     16               MR. LERNER:    I believe he arrived in early 2014.

     17               THE COURT:    Okay.   And, again, you're -- we're going

     18   up through the current IPhone 6, that's a lot of time, that's

     19   eight years, that's a lot of records, 39 custodians over,

     20   again, what I would consider --

     21               And don't take it as a critique that I'm saying it's

     22   a scatter shot, that's a loaded term, I don't want to see that

     23   referenced in some future filing that I accused Plaintiffs of

     24   scatter shot --

     25               MR. LERNER:    (indisc.)   I won't do it.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 12
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 14 of 28 Page ID
                                  #:52056
                                                                                  46


      1   appointment of a special master?

      2               MR. LERNER:    I'm sure they do.     I always come with

      3   the belief that I should answer your questions and I will sort

      4   that out and not avoid it.      My first thought at least is I

      5   think we still prefer working with Your Honor.          We would

      6   certainly I think stipulate to a limit on what is being

      7   submitted to you.

      8               I agree, this is -- this is a process that I have

      9   never -- I've never seen.      It's incredibly long.      It doesn't

     10   have limits.    And if you want to do five pages per side and

     11   then, like you said, Your Honor does thumbs up or thumbs down,

     12   we will work with you on limits that make it possible.

     13               THE COURT:    So, I don't want to get into the details.

     14   Because they're going to say the reason why there are so many

     15   is because you're an obstructionist.        Okay?

     16               MR. LERNER:    Understood.

     17               THE COURT:    So, I'm not going to be -- I hammer

     18   nails.   All right?      But right now I'm getting bags of nails

     19   thrown at me, all right, and I can't hammer them all.           And I

     20   want to do it right.      And I think you would want these things

     21   done right.    I think you would want someone who has the time

     22   and the ability to dedicate, particularly once I hear there's

     23   now going to be crossover with the True Wearables case and we

     24   have law firms being subpoenaed in connection presumably with

     25   the representation of their client and there may have to be a
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 13
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 15 of 28 Page ID
                                  #:52057
                                                                                  47


      1   separate special master appointed to handle those issues.

      2               MR. LERNER:    Then I apologize I didn't answer your

      3   question then.     We --

      4               THE COURT:     Well, you did answer it.     You said you

      5   don't know, and I respect that.       I didn't push Mr. Powell on

      6   it.   And if you want to tell me your thoughts, you're welcome

      7   to.

      8               MR. LERNER:    I had thought perhaps cutting down the

      9   size of what's being submitted would help.         If Your Honor's

     10   direction is go work it out to get a special master, we'll talk

     11   with them again about who we'd agree on and try and get it

     12   sorted out for you.

     13               THE COURT:     Well, I can't appoint a special master.

     14   I see that --

     15               MR. LERNER:    Understood.

     16               THE COURT:     -- you did agree to -- at least the two

     17   judges you agreed to, retired judges, Judge Segal and

     18   Judge Guilford, I had Judge Guilford appointed as a special

     19   master in another case from Judge Staton, and Judge Segal I

     20   think would be a great person with all kinds of experience to

     21   help you work through a lot of the issues here.          I don't know

     22   what her availability is.

     23               But I'm at a bit of a loss after putting in as much

     24   time as I did on these two motions to hear that I've got two

     25   more coming.     And the fact that something is six or eight pages
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 14
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 16 of 28 Page ID
                                  #:52058
                                                                                  48


      1   on one side, I don't know what's coming from the other side.

      2   And I had a 240-page joint stipulation not too long ago that

      3   was not difficult at all to rule on.        Sometimes I have six-page

      4   apex-type depositions that are incredibly complex and require a

      5   great deal of thought.

      6               And -- again you're getting too inside baseball here.

      7   Law clerks are great.      Law clerks who have never practiced I

      8   don't think are able to handle a lot of the discovery disputes

      9   as easily as someone who has practiced.         So -- I don't want to

     10   waste any more time.      You don't have positions on it.       We're

     11   going to proceed, but it can't go on like this and I don't know

     12   what to do.

     13               I think we had -- and maybe it was that same phone

     14   call or maybe it was on a subsequent Order, but I on one issue

     15   offered to have an informal, made myself available to have an

     16   informal telephone call about whatever the issue was, and my

     17   mind is forgetting what that was, and I wasn't taken up on it.

     18               I don't know if that's going to help, but things like

     19   spoliation or spolation, that's not one I can rule on on the

     20   fly and that's not one anyone can.        But if we -- if this is the

     21   reality of what we have, we're going to have to come up with

     22   another way or a better way to handle it that takes into

     23   account that this is a public office that serves all sorts of

     24   people, not just one case.

     25               So, let's proceed on with -- we left off at Request
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 15
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 17 of 28 Page ID
                                  #:52059
                                                                                  49


      1   Number 65.    I read it into the record.      I gave some tentative

      2   thoughts to you, Mr. Powell.       It's the refer or relate and any

      3   ruling would be without prejudice to you or your client serving

      4   a follow-up request for production.

      5               And I'm going to throw this out there.        I don't mind

      6   seeing request for production number 850.         That in and of

      7   itself tells me nothing, because 850 carefully crafted requests

      8   for production are much better than ten, you know, give me

      9   every single document referring, relating, concerning, having

     10   anything to do with some general topic.         So, I don't mind if

     11   the numbers get up there high.

     12               What I mind is trying to figure out how on an eight-

     13   year time period with I understand there's still a dispute on

     14   up to 39 custodians, and possibly more if a showing is made

     15   that it's warranted, how refer or relate to documents are

     16   needed.   You know, I don't -- the difficulty is I don't have on

     17   the flip side the evidence of the burden.         But on this one,

     18   when I see refer or relate to it causes me concern and we'll

     19   continue to hear that as we go through this.

     20               But let me hear from you, Mr. Powell.        I don't

     21   actually recall if you had an opportunity to be heard on 65.

     22               MR. POWELL:    Sure, Your Honor.

     23               So, just a few things.     And I recognize what you're

     24   saying about it being -- this language being a bit broad.            And

     25   part of that is because we're in a situation where we don't
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 16
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 18 of 28 Page ID
                                  #:52060
                                                                                   50


      1   have discovery yet and we've gotten very little in response.

      2               And so, there is one option that I wanted to mention

      3   and it's something that we are discussing about the schedule

      4   with the other side.      If the schedule was extended to allow

      5   sufficient time to get some discovery and then propound more

      6   requests that are narrower, then that would be something that

      7   we would certainly be interested in.

      8               The problem is we've been -- on this particular

      9   request we've been negotiating for about four months now and

     10   we're six weeks out from the close of fact discovery.           So, I

     11   apologize, and I really did not want to bring this sort of

     12   motion to you.     I just did not think that we had any other

     13   choice because we'd already gone four months of negotiations,

     14   multiple meet and confers.      I think there were two dozen

     15   letters on these requests alone back and forth.

     16               And so that's why we felt like we had no choice.            If

     17   there was more time in the schedule, I would be happy to get

     18   some discovery and try to propound narrower requests to try to

     19   alleviate some of the burden on the Court.         But that's -- it's

     20   this crunch in the schedule that is part of the problem here.

     21               And so that I think would also alleviate some of the

     22   problem on some of these motions.        Again, there is a crunch in

     23   the schedule and that's why some of these motions are getting

     24   filed now, because we have frankly no other choice with the

     25   schedule.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 17
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 19 of 28 Page ID
                                  #:52061
                                                                                  51


      1               THE COURT:    I am not casting any aspersion on filing

      2   motions.    All right?    Let's get back to Number 65.

      3               MR. POWELL:    Okay.     So, on Number 65 specifically,

      4   power consumption is an advantage of the trade secret

      5   specifically mentioned.      It's in our interrogatory responses

      6   and that's why this is a topic.         Again, it's the final decision

      7   of how a product is implemented that's sufficient to show and

      8   that certainly gets you a starting point, and that's Number 63.

      9   But that's not going to show you who suggested a given change

     10   to help power consumption.         It's not going to show you why

     11   power consumption is so important.         All of those things are

     12   directly relevant to damages and to misappropriation in the

     13   case.

     14               This is a critical issue directed towards an

     15   advantage of a trade secret and frankly if all we get is

     16   discovery that's sufficient to show --

     17               THE COURT:    Tell me a little bit about power

     18   consumption.    How -- what's the nature of it?        How -- I walk

     19   into this, again is why I think a special master is going to be

     20   great for you, I don't know anything about the Apple Watch, I

     21   don't know anything about pulse oximetry, I don't know anything

     22   about heart rate algorithms, and I don't know anything about

     23   how a heart rate algorithm is beneficial to power consumption.

     24   Okay?   This is a different language.

     25               So -- but what I do know is all documents and things
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 18
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 20 of 28 Page ID
                                  #:52062
                                                                                   52


      1   that refer or relate to.      That I understand.     Well, those words

      2   I've seen before.     When you have that massive amount of

      3   opening, an opening salvo, using the piping example, you start

      4   out here.    I don't know how narrow power consumption by heart

      5   rate algorithms, but it gets back to, and I'm telling this to

      6   Apple, using 39 custodians, if those aren't being searched I

      7   may have to rethink some of this stuff about whether it is more

      8   reasonable to, if we're only looking at 12 custodians, that

      9   maybe I'm misreading this.      So, maybe we need to wait for

     10   whatever further issues might be coming up on this custodian

     11   issue to rule on some of these things.

     12               What do you think about that, Mr. Powell?

     13               MR. POWELL:    Well, I completely understand, Your

     14   Honor.   I don't think -- it's not going to be 12.         Right?    I

     15   think the parties have agreed to roughly 28 or 29.          Mr. Lerner

     16   can correct me if I'm wrong.

     17               But on the power consumption, I could direct Your

     18   Honor, if you have the trade secret statement up on your screen

     19   I could direct you.       On that same page, if we look down at

     20   Number 3 on that same page, Page 315 of Docket 353-2, and I'm

     21   looking at the second line after the first "and."          You can see

     22   that phrase there.

     23               THE COURT:    I'm sorry, say that again.

     24               MR. POWELL:    The second line of Paragraph 3.

     25               THE COURT:    Paragraph 3, second -- so what -- on the
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 19
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 21 of 28 Page ID
                                  #:52063
                                                                                   53


      1   litigation line, what --

      2               MR. POWELL:    Oh, I'm sorry.    I'm sorry.    Line 12 of

      3   the pleading.

      4               THE COURT:    All right.

      5               MR. POWELL:    I'm sorry, Line 13 of the pleading.          And

      6   if you look after the word "and," that's what I would be

      7   referring to here.       And so that's a critical aspect of this

      8   trade secret.

      9               And again, I recognize what Your Honor is saying

     10   about refer or relate and that language is language both

     11   parties have used and both parties have agreed to produce on,

     12   and I think the understanding is the reason --

     13               THE COURT:    The issue is when you come to court and

     14   want on 89, or what did I say, 92 requests -- I'm holding

     15   Apple's feet to the fire for not giving the evidence when

     16   they're saying undue burden or lack of proportionality.           But

     17   I'm holding your feet to the fire that -- I'm hammering nails.

     18   I look at the words.      You may have reached an agreement on

     19   other ones that you're going to use your best efforts for refer

     20   and relate to, but if I make an order, it's an order of the

     21   Court that Apple has to produce every -- all documents and

     22   things that refer or relate to power consumption.          To me, my

     23   gut instinct on that is that's a pretty big task.

     24               Now again, now we're at 28 or 29, I thought we were

     25   at 39, maybe we were at 12, we have 28 or 29 record custodians,
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 20
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 22 of 28 Page ID
                                  #:52064
                                                                                   54


      1   refer or relate to power consumption by any heart rate, and

      2   it's any heart rate algorithm used in any Apple Watch.           You get

      3   some more information, you tie it to some specific algorithms

      4   and/or specific products that those algorithms are used in,

      5   much easier for me to say, okay, you've got to produce that

      6   unless you give me some evidentiary showing that it's going to

      7   take you 25 years because our search parameters came up with

      8   50 million documents.      Okay?

      9               I don't have any of that.      What's what I usually see.

     10   And that's why I'm surprised.       All right?    If I'm going to get

     11   something where people -- the parties have put in this much

     12   time, money, and effort, that's what I usually see.           Instead,

     13   I'm left -- you're left with poor old government major, me,

     14   trying to figure out how burdensome, how proportionate to the

     15   needs of the case these things are.        And you get -- that's what

     16   you get.

     17               So, I'm reading it.     This one looks pretty broad to

     18   me.

     19               MR. POWELL:    Can I say one other thing, Your Honor?

     20   And then I will stop.

     21               I fully understand and the only reason why I'm

     22   engaging so much on this one is I think it will be an issue

     23   throughout the day.       There are a lot of requests that say refer

     24   or relate.

     25               THE COURT:    Right.   There sure are.
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 21
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 23 of 28 Page ID
                                  #:52065
                                                                                  55


      1               MR. POWELL:    Yes.   And part of the reason is, like I

      2   said, that's been the parties' practice and we've never

      3   expected every single document, just a reasonable search.            And

      4   all I wanted to say is if there is something -- I know you

      5   don't want to compromise and try to narrow individual requests

      6   and I'm not asking that --

      7               THE COURT:    You know, what, that's what the meet and

      8   confer process is for.      As a matter of fact, it's in Local

      9   Rule 37.    That's one of the things that's supposed to go in the

     10   joint stipulation, is, hey, how did you propose to resolve

     11   this?    Just -- I'm glad you're here.      I think you were on the

     12   phone last time.     Not the door Maria's been walking in, the one

     13   over there with the giant lock on it, okay, that's what

     14   happens, that's the logical endpoint of someone -- when I say

     15   you're ordered, Apple, to produce all documents and things that

     16   refer or relate to power consumption by any heart rate

     17   algorithm used in any of the Apple Watch Products, okay, there

     18   could be lots of steps along the way.        Well, you could have --

     19   you don't produce it, you could have issue sanctions, you know,

     20   but ultimately it's a Court order.        And I have had people walk

     21   in through that door and be led out through that door.

     22               You're asking, so what you do amongst yourselves is

     23   great.   I encourage it.     Keep doing it.     But when you walk into

     24   court I can pull down your proposed order that you submitted to

     25   me.   It's we want an order that Apple produce all responsive
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 22
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 24 of 28 Page ID
                                  #:52066
                                                                                  56


      1   documents without objection to Request Number 65 within

      2   whatever days you asked for.       If you want that order, you'd

      3   better come in with something that's sufficiently narrowly

      4   crafted, and that's what Rule 34 requires, with reasonable

      5   particularity for me to feel comfortable in what I see is the

      6   logical endpoint of that order.       All right?

      7               So, I appreciate that you folks are working together

      8   on refer or relate to.      I wish you weren't -- you know, however

      9   many meet and confers later, sometimes the answer to a problem

     10   with the meet and confers, you look at your own request and

     11   say, hmmm, all right, they're fighting me on this, you know

     12   what I'm going to need to do, I'm going to need to serve a more

     13   narrowly crafted one, knowing that this is going to wind up in

     14   a motion before the judge, so I'd better make sure that it's

     15   with reasonable particularity, as required by Rule 34.

     16               So, I am not unmoved.     I love the -- what's the Latin

     17   phrase for that?     There's a Latin phrase for the double

     18   negative.    I'm not unmoved and I'm not unsympathetic to your

     19   plight, but, you're right, we're going to come up on this a

     20   lot.   That's why I kind of wanted to move off of 63, because I

     21   knew Mr. Lerner might change his view of some of the things

     22   that I'm going to have to say as we go forward.

     23               And if you get your extension, all the better.

     24   Because ultimately if Apple doesn't do what they're going to

     25   need to do on 63, there's going to be a reckoning for them on
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 23
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 25 of 28 Page ID
                                  #:52067
                                                                                  57


      1   all these other ones when you serve your follow-up discovery

      2   requests and you come back and say, hey, we did what you asked,

      3   Judge Early, but we got garbage from Apple, so we narrowed it a

      4   little, we got rid of refer or relate to, but we can't be any

      5   more specific about what heart rate algorithms we're talking

      6   about because we got garbage from Apple in response to

      7   Number 63.    I'm going to be very sympathetic to that.

      8               Understood?

      9               MR. POWELL:    I understand, Your Honor, and I don't

     10   want to overstay my welcome, I just wanted to point out one

     11   thing and then I'll --

     12               THE COURT:    You've got as much time as you want.

     13               MR. POWELL:    Okay.   And I apologize, Your Honor, I

     14   just wanted to point out that our proposed order did not ask

     15   for all documents, it asked -- it did say that we wanted them

     16   to conduct a reasonable and good faith search.          That's all

     17   we're asking for.     And I would be willing to agree right now

     18   for all of these refer or relate requests that we're going to

     19   see today that this is not about every single document and we

     20   just want a reasonable search.

     21               THE COURT:    You put that in front of me and you're

     22   asking to compel those responses.        So, yeah, of course every

     23   single Rule 34 response, complicit in it is a reasonable and

     24   good faith search.       But a reasonable and good faith search is,

     25   in the context of 28 or 29 custodians when you factor in refer
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 24
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 26 of 28 Page ID
                                  #:52068
                                                                                  58


      1   or relate to is not narrowly tailored, not specified with

      2   reasonable particularity, and I can look at that and see that

      3   it's not proportional to the needs of the case without the

      4   evidentiary showing.

      5               Not always going to be true here, but -- and it's --

      6   you know, you'd be better -- well, I'll leave it at that.

      7   Anything further?

      8               MR. POWELL:    Understood, Your Honor.

      9               THE COURT:    Anything further, Mr. Powell, on 65?

     10               MR. POWELL:    No, Your Honor.

     11               THE COURT:    All right.   Mr. Lerner, anything you want

     12   to say on Number 65?

     13               MR. LERNER:    No, Your Honor, we don't need to spend

     14   more time on it.

     15               THE COURT:    All right, Number 66.     This is -- long

     16   isn't necessarily bad -- quote,

     17               "All documents and things that refer or relate to any

     18               testing and/or analysis of the properties and/or

     19               characteristics of any of the Apple Watch Products or

     20               any component of any of the Apple Watch Products that

     21               relate to pulse rate detection, pulse rate

     22               measurement, power consumption by pulse rate

     23               detection, or power consumption by pulse rate

     24               measurement, including, without limitation, testing

     25               protocols, reports, results, notes, and summaries."
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 25
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 27 of 28 Page ID
                                  #:52069
                                                                                  59


      1               Looks pretty broad to me. Mr. Powell.        I'll hear from

      2   you, though.

      3               MR. POWELL:    Your Honor, I don't want to again

      4   overstay my welcome and keep arguing the same thing on --

      5               THE COURT:    You've got as much time as you want.

      6   We're only at 11:25.

      7               MR. POWELL:    Again, I do think that this one is

      8   reasonable here and again there are very similar requests being

      9   served on the other side here.

     10               The issue of testing and analysis of the properties,

     11   we've limited it to specific properties that are directly at

     12   issue in this case.       So, we have that relate to pulse rate

     13   detection, pulse rate measurement, power consumption by pulse

     14   rate, or power consumption by pulse rate measurement, so we

     15   have those things are specifically limited.         And then we gave

     16   some examples of the types of documents we're looking for.

     17               THE COURT:    Nothing wrong with examples.

     18               MR. POWELL:    Right.

     19               THE COURT:    Examples can be helpful.      I'm not holding

     20   that against you.     But I am noting we've got two refer or

     21   relate to.     We've got a refer or relate to and then a separate

     22   relate to.     We've got multiple conjunctive/disjunctive.        You

     23   know, we've got testing and/or analysis and/or characteristics,

     24   and then we get back to the of any Apple Watch Products or any

     25   component of any Apple Watch Products, and then that relate to
                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                          Exhibit 22
                                                                            Page 26
Case 8:20-cv-00048-JVS-JDE Document 744-24 Filed 05/25/22 Page 28 of 28 Page ID
                                  #:52070
                                                                                  173


                                       CERTIFICATION



                      I certify that the foregoing is a correct transcript

          from the electronic sound recording of the proceedings in the

          above-entitled matter.




                                                              May 26, 2021

                       Signed                                      Dated



                                 TONI HUDSON, TRANSCRIBER




                          EXCEPTIONAL REPORTING SERVICES, INC
                                                                           Exhibit 22
                                                                             Page 27
